

People v Brown (2023 NY Slip Op 02083)





People v Brown


2023 NY Slip Op 02083


Decided on April 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 25, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Pitt-Burke, JJ. 


Ind. No. 974/17 Appeal No. 86 Case No. 2019-4031 

[*1]The People of the State of New York, Respondent,
vJenisha Brown, Defendant-Appellant.


Caprice R. Jenerson, Office of Appellate Defender, New York (Karen Brill of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Judgment, Supreme Court, New York County (Ann E. Scherzer, J.), rendered April 10, 2018, as amended July 3, 2018, convicting defendant, upon her plea of guilty, of attempted assault in the first degree, and sentencing her, as a persistent violent felony offender, to a term of 16 years to life, unanimously affirmed.
Defendant's challenge to the voluntariness of her plea is unpreserved and we decline to review it in the interest of justice. In any event, we find no basis for reversal. Defendant said nothing during her plea colloquy that negated her guilt or raised a possible defense (see People v Lopez , 71 NY2d 662, 666 [1988]). The remark that defendant claims to have warranted further inquiry did not raise a justification defense, because there was no suggestion that defendant was defending anyone from the victim's
imminent use of force. On the contrary, elsewhere in defendant's factual recitation she described a premeditated attack. Accordingly, no further inquiry by the court was necessary.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 25, 2023








